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EXHIBIT F

Case 1:09-cV-00597-LI\/|B-TCB Document 38-7 Filed 10/23/09 Page 2 of 4 Page|D# 612

Roth, Melissa R.

From: Dickinson, Michelle J.

Sent: Wednesday, September 16, 2009 8:19 P|V|
To: 'yavitz@hhy|aw.com'

Cc: Roth, Me|issa R.; Cramer, Vanessa
Subject: Re: Loomis

We'll have a better idea of venues once we get your clients‘ documents. When should we
expect them?

with respect to the 30(b)6 depos, the Rules do not entitle you to depose any witness more
than once without leave of court. I do not expect any problems with respect to completing
in the allotted time - provided you are adequately prepared.

Michelle

Michelle

Michelle J. Dickinson

DLA Piper LLP (US)

6225 Smith Avenue

Baltimore, Maryland 21209-3600
(410) 580-4137 Direct Phone
(410) 580-3137 Direct Fax
michelle.dickinson@dlapiper.com

ATTORNEY WORK PRODUCT

----- Original Message ----~

From: Randy Yavitz <yavitz@hhylaw.com>
To: Dickinson, Michelle J.

Sent: Wed Sep 16 19:36:39 2009
Subject: RE: Loomis

OK, we will look at dates. What venues should we look at? I‘m aware of Rule 30(d).

Under that rule I am entitled to up to 4 seven-hour days, given the multiple defendants
and plaintiffs. I don't want 4-days. In factr I don‘t want a minute more than necessary.
But much is outside my control. I can't govern whom will be selected as company
representatives. I can't govern the level of their preparation, their candor or your
cooperation. So, in due course, we will notice the 30(b)(6) deposition, and we can discuss
the anticipated length.

Randy Yavitz

HUNTER, HUMPHREY & YAVITZ, PLC
2633 E Indian School Rd, #440
Phoenix, Arizona 85016

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From: "Dickinson, Michelle J."

To: "Randy Yavitz“ , “Isabel M Humphrey"
Sent: 9/16/2009 B:SGAM

Case 1:09-cV-00597-LI\/|B-TCB Document 38-7 Filed 10/23/09 Page 3 of 4 Page|D# 613
Subject: RE: Loomis

Randy,

After October 26th is fine. I am not suggesting we limit non-expert depos to that time
period, just that we both block off a dozen or so dates that may be used for depos to make
the scheduling process easier. We certainly may take depositions outside that time frame
and may not use some of the dates blocked off, but at least we'll have some dates for non-
expert witness depositions where we know both sides are available. Please propose some
dates, and I will let you know what works for us. In addition to the non-expert witness
depositions, I expect expert witness depositions will take place after Thanksgiving, based
on the expert disclosure schedule.

I am not sure what deposition requests you are referring to in your first paragraph.
Notwithstanding, we will designate the appropriate corporate designee(s) based on the
topics you identify in your 30(b)6 depo notice. I do not anticipate the 30(b)6 deposition

taking longer than the one seven-hour day limit provided by FRCP 30(d). If you believe
otherwiser please advise. Thanks.
Michelle

 

From: Randy Yavitz [mailto:yavitz@hhylaw.com]
Sent: Tuesday, September 15, 2009 9:06 PM

To: Dickinson, Michelle J.; Isabel M Humphrey
Cc: tdunlap@dglegal.com; Roth, Melissa R.
Subject: RE: Loomis

Sounds like a good idea. To follow up on Rodney's deposition requests, we would
like to start with a 30[b)(6) deposition of the plaintiff corporations, which will
probably take a couple of days, assuming that the representatives selected are capable and
willing to answer questions.

In terms of scheduling, we are tied up in another trial until October 26, so we'd
need to postpone the start date of the deposition phase by one week. What was the
thinking behind your selection of Nov 19 as the end date?

Randy Yavitz

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----- Original Message ~-~-~

From: "Dickinson, Michelle J."

To: "Isabel M Humphrey" , "Randy Yavitz"
Sent: 9/15/2009 l:QlPM

Subject: Loomis

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Counsel,

In the interest of making the deposition scheduling process as smooth as possible, I
propose that all counsel agree to set aside 12-14 days between October 19, 2009 and
November 19, 2009 for depositions. We don't have to use all of the dates for depositions,
but we at least will have them blocked off so that they are available. If you are in
agreement, please email me the dates you would prefer to block off and we will confirm.
Thanks.

Michelle

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